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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            |           Case No. 1:22-CR-00110-RC
                                    |           Hon. Rudolph Contreras
v.                                  |
                                    |
MATTHEW THOMAS KROL,                |
                                    |
      Defendant.                    |
____________________________________|_________________________________________

Michael J Cronkright (P52671)                        Andrew Tessman
Attorney for Matthew Thomas Krol                     United States Attorney’s Office
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                  Defendant Matthew Krol’s Unopposed Motion To Continue

       NOW COMES, Matthew Krol, by and through his Attorney Michael J Cronkright, and

moves this Honorable Court to continue the Status Conference currently set for May 08, 2023

to a date and time to be determined by the Court after 60 days. This request is being made by

the defense because additional time is needed for review of the voluminous amount of

evidence made available to date.

       On or before March 18, 2023, Mr. Krol was transferred to the D.C. Central Detention

Facility. With this change, counsel was able to send a digital copy of case materials including

case specific discovery for Mr. Krol to review. Unfortunately, the facility has not provided

access to a computer. Communications with the Detention Facility staff indicate that he should

have access to a computer soon, perhaps as soon as next week. Further, communications with
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counsel have been strained by the fact that Mr. Krol has not, until recently gained access to the

APDS messaging system. That line of communication is now working.

       Defendant consents to the tolling of the Speedy Trial Act. This request was reviewed

with AUSA Andrew Tessman and there is no opposition to the motion. Further, the undersigned

has communicated with Defendant and determined that he consents to this motion.



Respectfully submitted:

/s/ Michael J Cronkright
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Michael J Cronkright (P52671)
Cronkright Law, PLLC
